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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA



K. W. et al.,                               )
                                            )
                       Plaintiffs,          )
                                            )      Civil Action No. 17-1189
                v.                          )      Judge Cathy Bissoon
                                            )
THE ELLIS SCHOOL,                           )
                                            )
                       Defendant.           )

                         CASE MANAGEMENT CONFERENCE



Before: Judge Bissoon


For Plaintiff: Kristen C. Weidus, Esq.


For Defendant: Katherine E. Koop, Esq.
               Albert S. Lee, Esq.


Began: February 15, 2019 at 10:00am


Concluded: February 15, 2019 at / 0 :JJ   lkYVl.

Reporter:_ None




                                     OUTCOME


Order to follow.
